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          STATE OF NEW YORK
          SUPREME COURT: COUNTY OF ERIE
           ROSEMARY KORT


                                                Plaintiff

           v.

           MARATHON PETROLEUM CORPORATION                                       SUMMONS
           c/o CT Corporation System
           4400 Easton Commons Way                                              Index No.:
           Suite 125
           Columbus, Ohio 43219

           SPEEDWAY LLC
           c/o CT Corporation System
           28 Liberty Street
           New York, New York 10005
                                 Defendants
          TO THE ABOVE-NAMED DEFENDANTS:
                 YOU ARE HEREBY SUMMONED to Answer the Complaint in this action and to serve
          a copy of your Answer on Plaintiff's Attorneys within 20 days after the service of this Summons,
          exclusive of the day of service (or within 30 days after the service if this Summons is not personally
          delivered to you within the State) and in case of your failure to Answer, Judgment will be entered
          against you by default for the relief demanded in the Complaint. Plaintiff's Complaint against you
          is in excess of the jurisdictional limits of all lower Courts. Erie County is designated as the place
          of trial based upon Plaintiff's residence therein.



          DATED: December 16, 2020                                /s/ Duane D. Schoonmaker

                                                                Duane D. Schoonmaker, Esq.
                                                                WILLIAM MATTAR, P.C.
                                                                Attorneys for Plaintiff
                                                                Office and Post Office Address
                                                                6720 Main Street, Suite 100
                                                                Williamsville, New York 14221-5986
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          STATE OF NEW YORK
          SUPREME COURT: COUNTY OF ERIE
           ROSEMARY KORT
                                Plaintiff
                                                                             COMPLAINT
           v.
                                                                             Index No.:
           MARATHON PETROLEUM CORPORATION
           SPEEDWAY LLC

                                              Defendants

                 Plaintiff, ROSEMARY KORT, by her attorneys, William Mattar, P.C., as and for her

          Complaint against the Defendants herein, alleges:

                 1.      That at all times hereinafter mentioned Plaintiff, ROSEMARY KORT, was and is

          a resident of the Village of Orchard Park, County of Erie and State of New York.

                 2.      That at all times hereinafter mentioned, Defendant, MARATHON PETROLEUM

          CORPORATION, is a foreign business corporation not licensed and authorized to conduct

          business in the State of New York but which owns property in the State of New York, transacts

          business in the State of New York, and expected, or should reasonably have expected, its acts to

          have consequences in the State of New York and derive substantial revenue from interstate or

          international commerce.

                 3.      That at all times hereinafter mentioned, Defendant, SPEEDWAY LLC, was and is

          a foreign limited liability company duly authorized to conduct business in the State of New York.

                 4.      That upon information and belief, Defendant, SPEEDWAY LLC, was and is a gas

          station and convenience store located at 4169 North Buffalo, in the Village of Orchard Park, County

          of Erie, and State of New York.




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                 5.      That upon information and belief, at all times hereinafter mentioned, Defendant,

          MARATHON PETROLEUM CORPORATION owned the aforementioned premises located at

          4169 North Buffalo, Village of Orchard Park, County of Erie, State of New York.

                 6.      That upon information and belief, at all times hereinafter mentioned, Defendant,

          SPEEDWAY LLC, owned the aforementioned premises located at 4169 North Buffalo, Village of

          Orchard Park, County of Erie, State of New York.

                 7.      That upon information and belief, at all times hereinafter relevant, Defendant,

          MARATHON PETROLEUM CORPORATION, owned, operated, and controlled Defendant,

          SPEEDWAY, LLC.

                 8.      That at all times hereinafter mentioned, Defendant, MARATHON PETROLEUM

          CORPORATION , had a duty to maintain the premises located at 4169 North Buffalo, Village of

          Orchard Park, County of Erie, State of New York, including ensuring adequate and safe snow and

          ice removal and safe ingress and egress to the premises.

                 9.      That at all times hereinafter mentioned, Defendant, SPEEDWAY LLC, had a duty

          to maintain the premises located at 4169 North Buffalo, Village of Orchard Park, County of Erie,

          State of New York, including ensuring adequate and safe snow and ice removal and safe ingress

          and egress to the premises.

                 10.     That at all times hereinafter mentioned, Defendant, MARATHON PETROLEUM

          CORPORATION, had a duty to inspect the premises located at 4169 North Buffalo, Village of

          Orchard Park, County of Erie, State of New York, including inspections to determine the need for

          snow and ice removal and to ensure safe ingress and egress to the premises.

                 11.     That at all times hereinafter mentioned, Defendant, SPEEDWAY LLC, had a duty

          to inspect the premises located at 4169 North Buffalo, Village of Orchard Park, County of Erie,




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          State of New York, including inspections to determine the need for snow and ice removal and to

          ensure safe ingress and egress to the premises

                 12.      That at all times hereinafter mentioned, Defendant, MARATHON PETROLEUM

          CORPORATION, had a duty to repair the premises located at 4169 North Buffalo, Village of

          Orchard Park, County of Erie, State of New York, including ensuring safe ingress and egress to

          the premises.

                 13.      That at all times hereinafter mentioned, Defendant, SPEEDWAY LLC, had a duty

          to repair the premises located at 4169 North Buffalo, Village of Orchard Park, County of Erie, State

          of New York, including ensuring safe ingress and egress to the premises.

                 14.      That at all times hereinafter mentioned, Defendant, MARATHON PETROLEUM

          CORPORATION, hired employees and/or personnel for the purposes of maintaining, inspecting,

          and repairing said premises located 4169 North Buffalo, Village of Orchard Park, County of Erie,

          State of New York.

                 15.      That at all times hereinafter mentioned, Defendant, SPEEDWAY LLC, hired

          employees and/or personnel for the purposes of maintaining, inspecting, and repairing said

          premises located 4169 North Buffalo, Village of Orchard Park, County of Erie, State of New York.

                 16.      That upon information and belief and at all times hereinafter mentioned, the

          Defendant, MARATHON PETROLEUM CORPORATION, through their agents, servants,

          representatives and/or employees had actual notice and knowledge of the dangerous and defective

          conditions on the premises hereinafter mentioned, and/or created said dangerous conditions, and/or

          said conditions had existed for such a long period of time prior to the happening of this accident

          that Defendants could and should have had such knowledge and notice.




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                    17.   That upon information and belief and at all times hereinafter mentioned, the

          Defendant, SPEEDWAY LLC, through their agents, servants, representatives and/or employees

          had actual notice and knowledge of the dangerous and defective conditions on the premises

          hereinafter mentioned, and/or created said dangerous conditions, and/or said conditions had

          existed for such a long period of time prior to the happening of this accident that Defendants could

          and should have had such knowledge and notice

                    18.   That on or about February 29, 2020, Plaintiff, ROSEMARY KORT, while lawfully

          upon the aforementioned premises slipped and fell while attempting to enter the premises due to

          an unsafe accumulation of snow and/or ice on the sidewalk and parking lot.

                    19.   That as a result, Plaintiff, ROSEMARY KORT, suffered severe and permanent

          personal injuries.

                    20.   That as a result, Plaintiff, ROSEMARY KORT, incurred medical expenses and will

          continue to incur medical expenses into the future.

                    21.   That as a result of the foregoing, Plaintiff, ROSEMARY KORT, was otherwise

          injured and damaged, all to her damage in a sum in excess of the jurisdictional limits of the lower

          courts of the State of New York.

                    22.   That upon information and belief this action falls within one or more of the

          exceptions enumernated in Article 16 of the CPLR and/or said article is inapplicable to the within

          action.

                                          SECOND CAUSE OF ACTION

                    23.   Plaintiff repeats and re-alleges paragraphs “1” through “22” above.

                    24.   That the Defendant, MARATHON PETROLEUM CORPORATION, through it

          agents, servants, and employees, negligently carelessly, and recklessly maintained, inspected, and




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          maintained the premises located 4169 North Buffalo, Village of Orchard Park, County of Erie,

          State of New York.

                  25.    That Defendant, MARATHON PETROLEUM CORPORATION’s, negligence,

          carelessness and recklessness was a substantial factor in causing the injuries and damages of

          Plaintiff, ROSEMARY KORT.

                                          THIRD CAUSE OF ACTION

                  26.    Plaintiff repeats and re-alleges paragraphs “1” through “25” above.

                  27.    That the Defendant, SPEEDWAY LLC, through it agents, servants, and employees,

          negligently carelessly, and recklessly maintained, inspected, and maintained the premises located

          4169 North Buffalo, Village of Orchard Park, County of Erie, State of New York.

                  28.    That the Defendant, SPEEDWAY LLC’s, negligence, carelessness and

          recklessness was a substantial factor in causing the injuries and damages of Plaintiff, ROSEMARY

          KORT.

                  WHEREFORE, the Plaintiff, ROSEMARY KORT, demands Judgment against

          Defendants, MARATHON PETROLEUM CORPORATION and SPEEDWAY LLC, jointly

          and/or severally, herein in an amount that exceeds the jurisdictional limits of all lower Courts,

          which would otherwise have jurisdiction, together with the costs and disbursements of this action.

          DATED: December 16, 2020                            /s/ Duane D. Schoonmaker

                                                             Duane D. Schoonmaker, Esq.
                                                             WILLIAM MATTAR, P.C.
                                                             Attorneys for Plaintiff
                                                             Office and Post Office Address
                                                             6720 Main Street, Suite 100
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